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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. JACKSON2023 OK 114Case Number: SCBD-7581Decided: 11/20/2023THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2023 OK 114, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

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STATE OF OKLAHOMA ex rel. OKLAHOMA BAR ASSOCIATION, Complainant,
v.
GUY WADE JACKSON, Respondent.



ORDER OF IMMEDIATE INTERIM SUSPENSION



¶1 The Oklahoma Bar Association (OBA), pursuant to Rules 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), forwarded to this Court certified copies of a Corrected Verified Emergency Application for Citation for Indirect Contempt of Court, Jury Instructions, and Judgment and Order of Confinement for Civil Indirect Contempt in the matter of Myers v. Myers, CJ-2015-120 and Kemp v. Peterson, CJ-2019-6289, in Oklahoma County District Court. On October 26, 2023, a jury found Respondent Guy Wade Jackson guilty of indirect contempt. The court sentenced Respondent to six (6) months confinement in the Oklahoma County Detention Center and a $500 fine. Respondent is currently incarcerated.

¶2 Rule 7.3 of the RGDP provides: "upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court may by order immediately suspend the lawyer from the practice of law until further order of the Court."

¶3 Having received certified copies of these papers and orders, this Court orders that Guy Wade Jackson is immediately suspended from the practice of law.

¶4 It is this Court's determination that this matter, which was filed pursuant to Rule 7.2, RGDP, should proceed as a disciplinary matter pursuant to Rule 6, RGDP. Complainant is directed to file a formal Complaint in compliance with Rules 6.1 and 6.2 within 30 days from the date of this Order. Respondent will have 20 days after the mailing of the Complaint to file any Answer. The matter shall be set for hearing before the Professional Responsibility Tribunal pursuant to Rules 6.6 and 6.7. A briefing schedule will be entered by this Court following the filing of the Report and Recommendation of the Professional Responsibility Tribunal.

¶5 This order of immediate interim suspension shall stay in effect until further order of the Court.

¶6 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 20th day of November, 2023.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.







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